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                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION


        In re:
                                                                            Chapter 11
            BRAZOS ELECTRIC POWER
            COOPERATIVE, INC.,                                              Case No. 21-30725 (DRJ)

                                Debtor. 1

            BRAZOS ELECTRIC POWER
            COOPERATIVE, INC.,
                                                                            Adv. Proc. No. 21-04407 (DRJ)
                           Plaintiff,

        v.

            507 Capital LLC; et al.,

                           Defendants.


                             DEBTOR’S NOTICE OF INTENT TO SERVE
                   SUBPOENA DUCES TECUM TO MERCURIA ENERGY AMERICA, LLC

                   PLEASE TAKE NOTICE THAT, pursuant to the Federal Rule of Civil Procedure 45,

        Brazos Electric Power Cooperative, Inc. (the “Debtor”) serves the following Subpoena Duces

        Tecum on Mercuria Energy America, LLC (“Mercuria”). The Debtor request that Concord

        produce for inspection the items requested at the office of Foley & Lardner LLP, 1000 Louisiana

        Street, Suite 2000, Houston, TX 77002.




        1
           The Debtor in this chapter 11 case, along with the last four digits of its federal tax identification number is:
        Brazos Electric Power Cooperative, Inc. (4729). Additional information regarding this case may be obtained on the
        website of the Debtor’s claims and noticing agent at http://cases.stretto.com/Brazos. The Debtor’s address is 7616
        Bagby Avenue, Waco, TX 76712.

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        Dated: October 20, 2022                Respectfully submitted,

                                                FOLEY & LARDNER LLP

                                                /s/ Ronald L. Oran, Jr.
                                                Ronald L. Oran, Jr.
                                                State Bar No. 24072268
                                                Email: roran@foley.com
                                                Drake Lawsage
                                                State Bar No. 24102070
                                                Email: dlawsage@foley.com
                                                1000 Louisiana Street, Suite 2000
                                                Houston, TX 77002
                                                Telephone: 713.276.5500
                                                Facsimile: 713.276.5555

                                                -and-

                                                Holland N. O’Neil
                                                State Bar No. 14864700
                                                Email: honeil@foley.com
                                                2021 McKinney Avenue, Suite 1600
                                                Dallas, Texas 75201
                                                Telephone: 214.999.4961
                                                Facsimile: 214.999.4667

                                                -and-

                                                Timothy C. Mohan (admitted pro hac vice)
                                                State Bar No. 50559
                                                1400 16th Street, Suite 200
                                                Denver, CO 80202
                                                Telephone: 720-437-2000
                                                Email: tmohan@foley.com

                                                SPECIAL COUNSEL AND CONFLICTS
                                                COUNSEL TO THE DEBTOR




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                                           CERTIFICATE OF SERVICE

                   I hereby certify that on October 20, 2022, a true and correct copy of the foregoing was

        served via the Court’s CM/ECF system and electronic mail to counsel for the Gas Claimants as

        indicated below:

        AMINI LLC                                             BRACEWELL LLP
        Avery Samet                                           Robert G. Burns
        Jeffrey Chubak                                        31 W. 52nd Street, Suite 1900
        131 West 35th Street, 12th Floor                      New York, New York 10020
        New York, NY 10001                                    robert.burns@bracewell.com
        Telephone: (212) 490-4700
        asamet@aminillc.com                                   Bradley J. Benoit
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                                                              Houston, Texas 77002
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        Robert M Corn
        440 Louisiana St Ste 2000                             Mark E. Dendinger
        Houston, TX 77002                                     CityPlace I, 34th Floor
        Email: rcorn@corn-law.com                             185 Asylum Street
                                                              Hartford, Connecticut 06103
        ATTORNEYS FOR 507 CAPITAL LLC, 507                    mark.dendinger@bracewell.com
        SUMMIT LLC, CETUS CAPITAL VI, L.P.,
        CROSSINGBRIDGE LOW DURATION HIGH                      ATTORNEYS FOR TENASKA MARKETING
        YIELD FUND, DESTINATIONS GLOBAL FIXED                 VENTURES
        INCOME OPPORTUNITIES FUND,
        DESTINATIONS LOW DURATION FIXED
        INCOME FUND, LEAFFILTER NORTH
        HOLDINGS, INC., OFM II, LP, OU 2 LLC,
        RIVERPARK SHORT TERM HIGH YIELD FUND,
        RIVERPARK STRATEGIC INCOME FUND AND
        TWO SEAS GLOBAL (MASTER) FUND LP

        CLEARY GOTTLIEB STEEN & HAMILTON LLP                  KATTEN MUCHIN ROSENMANN LLP
        Jane VanLare                                          John E. Mitchell
        John Veraja                                           Michaela Crocker
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                                                              michaela.crocker@katten.com
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        AHMAD, ZAVITSANOS & MENSING PC                        -and-
        Monica Uddin
        Jason S. McManis                                      YETTER COLEMAN LLP
        Alexander M. Dvorscak                                 R. Paul Yetter
        1221 McKinney Street, Suite 2500                      Bryce L. Callahan
        Houston, Texas 77010                                  Ali Shan Ali Bhai


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        muddin@azalaw.com                              811 Main Street, Suite 4100
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                                                       bcallahan@yettercoleman.com
        ATTORNEYS FOR TOTAL GAS & POWER                asalibhai@yettercoleman.com
        NORTH AMERICA, INC.
                                                       ATTORNEYS FOR ETC MARKETING, LTD.

        GIBBONS P.C.                                   PORTER HEDGES LLP
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        Mark B. Conlan, Esq.                           Eric D. Wade
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        rmalone@gibbonslaw.com                         Megan Young-John
        mconlan@gibbonslaw.com                         1000 Main Street, 36th Floor
                                                       Houston, Texas 77002
        ATTORNEYS FOR NJR ENERGY SERVICES              Telephone: (713) 226-6000
        COMPANY                                        Email: jhiggins@porterhedges.com
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                                                       Email: hhatfield@porterhedges.com
                                                       Email: sjohnson@porterhedges.com
                                                       Email: myoung-john@porterhedges.com

                                                       ATTORNEY FOR OFFICIAL COMMITTEE OF
                                                       UNSECURED CREDITORS




                                                /s Ronald L. Oran Jr.
                                                Ronald L. Oran Jr.




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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                      UNITED STATES BANKRUPTCY COURT
  _________________________________________
      Southern                              District of _________________________________________
                                                               Texas
      Brazos Electric Power Cooperative, Inc.
In re __________________________________________
                                    Debtor
                                                                                              21-30725 (DRJ)
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                             11
                                                                                     Chapter ___________
Brazos Electric Power Cooperative, Inc.
_________________________________________
                                    Plaintiff
                                       v.                                                           21-04407 (DRJ)
                                                                                     Adv. Proc. No. ________________
507 Capital LLC, et al.
__________________________________________
                        Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To: ________________________________________________________________________________________
      Mercuria Energy America, LLC
                                   (Name of person to whom the subpoena is directed)

  ✘ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: SEE ATTACHED EXHIBIT "A"

  PLACE Foley & Lardner LLP                                                                                  DATE AND TIME
        1000 Louisiana Street, Ste. 2000, Houston, TX 77002                                                  November 23, 2022          5:00 p.m. (CDT)


      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

        10/20/2022
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR
                                    ________________________                                /s/ Ronald L. Oran, Jr.
                                                                                            ________________________
                                    Signature of Clerk or Deputy Clerk                            Attorney’s signature

  The name, address, email address, and telephone number of the attorney representing (name of party)
  ____________________________
  Brazos Electric Power Cooperative, Inc. , who issues or requests this subpoena, are:
 Ronald L. Oran, Jr., Foley & Lardner LLP, 1000 Louisiana Street, Ste. 2000, Houston, TX 77002, (713) 276-5500, roran@foley.com
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                                Server’s signature

                                                                                  ________________________________________________
                                                                                                             Printed name and title


                                                                                  ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                                  EXHIBIT “A”
                                                   DEFINITIONS

                   1.    “ACES” means the Alliance for Cooperative Energy Services Power

        Marketing, LLC.

                   2.    “Bankruptcy Code” means Chapter 11 of Title 11 of the United States Code.

                   3.    “Bankruptcy Court” means the United States Bankruptcy Court for the

        Southern District of Texas, Houston Division.

                   4.    “Brazos” or “Brazos Electric” means Brazos Electric Power Cooperative, Inc.,

        the debtor in this Chapter 11 Case, including any of its divisions, predecessors or successors,

        as well as its past and present officers, directors, partners, employees, members, owners and

        beneficiaries, agents, representatives, attorneys, consultants, advisors, or other Persons acting

        or purporting to act under its control or on its behalf.

                   5.    “Chapter 11 Case” means the bankruptcy case of Brazos currently pending in

        the Bankruptcy Court, Bankruptcy Case No. 21-30725.

                   6.    “Communication” means both the documentary and any non-documentary

        transmission of facts, data, or any other information, and all attachments and enclosures thereto,

        whether transmitted verbally, visually, in writing, electronically, or by any other means or media

        from one Person to another Person, and shall include, but not be limited to, the following: hard

        copy/paper Documents (writings, notebooks, drawings, graphs, charts, presentations,

        photographs, calendars, diaries, etc.); email and attachments; instant messages (including MS

        Communicator); personal e-mail or instant messaging accounts (e.g., Gmail); text messages, and

        any other electronic files and records in whatever form they are maintained. The non-

        documentary transmission of information shall include but not be limited to oral statements,


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        telephone conversations, recorded voicemail messages, negotiations, conferences or meetings,

        however formal or informal. The term also includes information relating to oral communications

        and written communications, whether or not any such information or writings were themselves

        transmitted by their author or any other persons.

                   7.    “Complaint” means The Debtor’s First Amended Complaint Objecting to the

        Proofs of Claim related to Certain Natural Gas Sales to the Debtor [Adv. Proc. Docket No. 77].

                   8.    “Concerning” means and includes referring to, relating to, constituting, in

        connection with, alluding to, supporting, refuting, reflecting, touching upon, involving,

        pertaining to, explaining, containing, featuring, recording, summarizing, showing, disclosing,

        setting forth, discussing, describing, evaluating, analyzing or evidencing.

                   9.    “Concord” means Concord Energy LLC.

                   10.   “Consolidated Defendants” means, individually and together, 507 Capital LLC,

        507 Summit LLC, Cetus Capital VI, L.P., CrossingBridge Low Duration High Yield Fund,

        Destinations Global Fixed Income Opportunities Fund, Destinations Low Duration Fixed

        Income Fund, Leaffilter North Holdings, Inc., OFM II, LP, OU 2 LLC, RiverPark Short Term

        High Yield Fund, RiverPark Strategic Income Fund and Two Seas Global (Master) Fund LP.

                   11.   “Contested Period” means from the beginning of February 12, 2021 through the

        end of February 18, 2021.

                   12.   “Contested Trades” mean those trades between the Debtor, on one hand, and the

        Gas Suppliers, on the other hand, that the Debtor objects to and are detailed in the Complaint

        and Exhibit B thereto.

                   13.   “Debtor” means Brazos Electric Power Cooperative, Inc.




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                   14.   “Document” is used in the broadest sense possible and equal in scope to the use

        of the term in Federal Rule of Civil Procedure 34(a), made applicable to this proceeding by

        Rule 7034 of the Federal Rules of Bankruptcy Procedure.            For the avoidance of doubt,

        “documents” shall include, but not be limited to, hard copy/paper documents (writings,

        notebooks, drawings, graphs, charts, presentations, photographs, calendars, diaries, etc.); email

        and attachments; instant messages (including MS Communicator and ICE Chat); personal e-

        mail or instant messaging accounts (e.g., Gmail); text messages, electronic files and records,

        including word processing, spreadsheets, presentations, PDFs, calendars, audio (including

        voicemail), video, database or other application records; data contained on any Intranet or

        Internet web site(s) under Your control, databases, collaboration platforms (e.g., SharePoint),

        Wikis, and any other accessible source of electronic information maintained by You.

                   15.   “ERCOT” means the Electric Reliability Council of Texas.

                   16.   “ESI” means “electronically stored information” as that term is used in Federal

        Rules of Civil Procedure 16, 26, and 34, and refers to all electronic data (including active data,

        archival data, backup data, backup tapes, distributed data, electronic mail, forensic copies,

        metadata, and residual data) stored in any medium from which information can be obtained.

                   17.   “ETC” means ETC Marketing, Ltd.

                   18.   “GAAP” means Generally Accepted Accounting Principles.

                   19.   “Gas Claimants” mean, collectively, the Consolidated Defendants, ETC, NJR,

        Tenaska, and TotalEnergies.

                   20.   “Gas Claims” mean the proofs of claims filed by the Gas Claimants.

                   21.   “Gas Suppliers” means, individually and collectively, Concord, ETC, Mercuria,

        NJR, Tenaska, and TotalEnergies.


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                   22.   “Including” means including, without limitation.

                   23.   “Jack County Plant” means the Debtor’s 1,210-megawatt, natural gas-fired,

        combined-cycle power plant located near Jacksboro, Texas.

                   24.   “Nortex” means Nortex Midstream Partners LLC, owner of the Worsham-Steed

        Gas Storage Facility.

                   25.   “Person” means natural persons, firms, associations, agencies, and/or other

        organizations and entities cognizable by law, including private corporations, public

        corporations, partnerships, unincorporated associations, offices, governments, governmental or

        political entities.

                   26.   “Petition Date” means March 1, 2021.

                   27.   “PUCT” means the Public Utility Commission of Texas.

                   28.   “Sandy Creek Station” means the Sandy Creek Energy Station, a 940-megawatt

        coal-fired generation facility located near Waco, Texas.

                   29.   “Tenaska” means Tenaska Marketing Ventures, an intervenor on behalf of

        Chase Lincoln First Commercial Corporation.

                   30.   “TotalEnergies” means Total Gas & Power North America, Inc.

                   31.   “You” and “Your” means Mercuria Energy America, LLC or “Mercuria,” as

        well as its past and present officers, directors, partners, employees, members, owners, agents,

        representatives, attorneys, consultants, advisors, or other Persons acting or purporting to act

        under its control, on its behalf, or under common control.

                   32.   “Winter Storm Uri” means the winter storm that impacted Texas from February

        10, 2021 through February 20, 2021.




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                   33.   “Worsham-Steed Gas Storage Facility” means the depleted oil and gas reservoir

        that is directly connected to the Jack County Plant owned by Nortex.

                                                 INSTRUCTIONS

                   1.    The use of the singular form of any word includes the plural and vice versa.

                   2.    The use of the past tense of any verb includes the present tense and a vice versa.

                   3.    The connectives “and” and “or” shall be construed conjunctively or disjunctively

        as necessary to make each request for production inclusive rather than exclusive; to bring within

        the scope of the request all Documents and Communications and responses that otherwise might

        be construed to be outside the scope of the request.

                   4.    If any Documents and Communications requested are withheld from production

        on a claim of privilege, please produce a privilege log identifying such Document or

        Communication together with: (a) the date of the Document or Communication; (b) the identity

        of the author or preparer; (c) the identity of each Person who was sent or furnished with the

        Document or Communication or who received or had possession or custody of the Document or

        Communication; (d) a description of the Document or Communication, including identification

        of any attachments or appendices; (e) a statement of the basis of the claim of privilege; and (f)

        the Request to which the Document or Communication is responsive. In the case of Documents

        or Communications Concerning a meeting or conversation, identify all participants in the

        meeting or conversation

                   5.    If a Document or Communication cannot be produced in full, produce it to the

        extent possible, identify the portion that cannot be produced, and specify the reasons for Your

        inability to produce the remainder.




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                   6.    Where Documents and Communications in the possession of a legal entity are

        requested, such request includes the entity’s employees, advisors, attorneys, representatives,

        agents, members, partners, officers, directors, independent contractors, successors and assigns,

        and all other persons acting for or on behalf of any one or more of them, as well as any

        Documents and Communications in the possession of a legal entity under common control with

        with You.

                   7.    Please produce responsive Documents as they have been kept in the usual course

        of business.

                   8.    If there are no Documents responsive to any particular request, please state so in

        writing.

                   9.    Where only a portion of a Document relates or refers to the subject of a request,

        the entire Document is to be produced nevertheless, including any and all attachments,

        appendices, and exhibits.

                   10.   If a responsive document was, but no longer is, within Your possession, custody

        or control, please state in detail: (a) the type of Document and the author(s), sender(s),

        recipient(s) and copyee(s) of the Document; (b) a summary of the contents of the Document; (c)

        what disposition was made of such Document; (d) the date of such disposition; (e) whether the

        original or a copy thereof is within the possession, custody or control of any other person; and

        (f) if the answer to (e) is affirmative, the identity of such person.

                   11.   The requests herein are to be deemed continuing so as to require further and

        supplemental productions if You discover, receive, or generate additional responsive Documents

        between the time of Your original production and the time of the final hearing held in this action.




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                   12.   Unless otherwise notes, the data applicable to the Document requests set forth

        below is February 1, 2021 to the Petition Date (the “Relevant Period”), and each request covers

        any and all Documents created, dated, sent, received, in effect, or in Your possession at any time

        during the Relevant Period.




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                                                   REQUESTS

                   1.    Documents and Communications sufficient to establish the cost of the natural gas

        You sold to the Debtor during the Contested Period.

                   2.    Copies of invoices or similar documentation establishing the cost of procuring the

        natural gas sold to the Debtor during the Contested Period.

                   3.    Documents and Communications sufficient to establish how You accounted for

        the cost of the natural gas sold to the Debtor during the Contested Period.

                   4.    For the natural gas sold to the Debtor during the Contested Period, Documents

        and Communications sufficient to establish the location of that natural gas before it was

        transported to the point of sale.

                   5.    For the natural gas sold to the Debtor during the Contested Period, Documents

        and Communications sufficient to establish the means and cost of transporting that natural gas to

        the point of sale.

                   6.    For natural gas delivered during Winter Storm Uri, all Documents and

        Communications regarding prices You charged to Brazos or any other purchaser of natural gas.

                   7.    For natural gas delivered during the Relevant Period, Documents and

        Communications sufficient to establish the prices You charged to Brazos and any other

        purchaser of natural gas

                   8.    For natural gas delivered during Winter Storm Uri, all Documents and

        Communications regarding any profits from Your sales of natural gas to Brazos or any other

        purchaser of natural gas.

                   9.    For natural gas purchases or sales during the Contested Period, Documents and

        Communications sufficient to establish the prices charged for such natural gas.


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                   10.   For natural gas purchases or sales during the Contested Period, Documents and

        Communications sufficient to establish the amounts actually paid for such natural gas.

                   11.   All Documents and Communications regarding Your internal policies and

        procedures regarding the pricing of natural gas for sale to third parties.

                   12.   All Documents and Communications during Winter Storm Uri regarding Real

        Time natural gas prices.

                   13.   All Documents and Communications during Winter Storm Uri regarding Real

        Time Market energy prices.

                   14.   All Documents and Communications during Winter Storm Uri regarding

        Ancillary Services Prices.

                   15.   All Documents and Communications during Winter Storm Uri regarding Firm

        Load Shed.

                   16.   All Documents and Communications during Winter Storm Uri regarding the

        PUCT’s February 15, 2021 Order Directing ERCOT to Take Action and Granting Exception to

        Commission Rules, filed in Project No. 51617, Item No. 3.

                   17.   All Documents and Communications during Winter Storm Uri regarding the

        PUCT’s February 16, 2021 Order Directing ERCOT to Take Action and Granting Exception to

        Commission Rules, filed in Project No. 51617, Item No. 4.

                   18.   All Documents and Communications during Winter Storm Uri regarding

        Implementation of the PUCT’s February 15 & 16, 2021 Orders Directing ERCOT to Take

        Action and Granting Exception to Commission Rules filed in Project No. 51617, Item Nos. 3 and

        4.

                   19.   All Documents and Communications during Winter Storm Uri regarding available


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        generation capacity on February 15, 2021 prior to the issuance of the PUCT Order Directing

        ERCOT to Take Action and Granting Exception to Commission Rules filed in Project No.

        51617, Item No. 3.

                   20.   All Communications with any person during Winter Storm Uri regarding

        ERCOT’s scarcity pricing mechanism.

                   21.   All Communications with any person regarding energy prices within ERCOT

        during the Relevant Period.

                   22.   All Communications with any person regarding natural gas prices within and

        outside of ERCOT during the Relevant Period.

                   23.   All Documents and Communications related to the existence of a force majeure

        event during Winter Storm Uri.

                   24.   All Documents and Communications concerning the value of the natural gas

        provided to Brazos.

                   25.   All Documents and Communications regarding generation capacity across the

        ERCOT system during Winter Storm Uri.

                   26.   All Documents and Communications regarding electricity natural gas capacity

        across the ERCOT system during Winter Storm Uri.

                   27.   All Documents and Communications regarding weather-related outages to

        electricity generation across the ERCOT system during Winter Storm Uri.

                   28.   All Documents and Communications regarding weather-related outages to

        electricity transmission across the ERCOT system during Winter Storm Uri.

                   29.   All Documents and Communications regarding weather-related interruptions to

        the delivery of natural gas across the ERCOT system during Winter Storm Uri, including but not


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        limited to, interruptions to the production and processing of natural gas during Winter Storm Uri.

                   30.   All documents and communications during the Relevant Period related to the

        availability of natural gas for gas-fired generation facilities located in ERCOT.

                   31.   All Documents and Communications between or among You and any and all Gas

        Suppliers during the Relevant Period.

                   32.   All Documents and Communications between or among You and any and all Gas

        Claimants during the Relevant Period.

                   33.   All Documents and Communications between You and ACES during the

        Relevant Period.

                   34.   All Documents and Communications between You and ACES relating to Winter

        Storm Uri.

                   35.   All Documents and Communications during Winter Storm Uri relating to natural

        gas prices at the Tolar hub.

                   36.   All Documents and Communications during Winter Storm Uri relating to natural

        gas prices at the NGPL TXOK hub.

                   37.   All Documents and Communications between You and Nortex during Winter

        Storm Uri.

                   38.   All Documents and Communications during Winter Storm Uri regarding the

        Worsham-Steed Gas Storage Facility.

                   39.   All Documents and Communications during Winter Storm Uri regarding the Jack

        County Plant.

                   40.   All Documents and Communications during Winter Storm Uri between You and

        any other gas storage facility that maintained possession of natural gas sold to the Debtor.


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                   41.   All Documents and Communications sufficient to establish how much natural gas

        You stored at the Worsham-Steed Gas Storage Facility during the Relevant Period.

                   42.   All Documents and Communications regarding Your assertions in paragraph 41

        of Your Answer denying that the “price increases were unexpected.”

                   43.   All Documents and Communications regarding the NAESB contracts between

        You and Brazos.

                   44.   All Documents and Communications regarding each of the Affirmative Defenses

        asserted in Your Answer.




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